Case 4:15-cv-00230-RC-CMC Document 10 Filed 05/18/15 Page 1 of 1 PageID #: 143



                          **NOT FOR PRINTED PUBLICATION **

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  MATTHEW A. MITCHELL,                         §
                                               §
                 Plaintiff,                    §
                                               §
  V.                                           §       CASE NO. 4:15cv230
                                               §       Chief Judge Clark/Judge Craven
  TRAVELERS LLOYDS OF TEXAS                    §
  INSURANCE COMPANY                            §
                                               §
                 Defendant.                    §

                                   ORDER OF DISMISSAL

         Before the court is the parties’ Stipulation of Dismissal [Doc. # 9].

         It is ORDERED that the Stipulation of Dismissal [Doc. # 9] is accepted by the Court.

  The Court further ORDERS that this case is DISMISSED with prejudice, with each party to bear

  their own costs.

         All relief not previously granted is DENIED.

         The Clerk is directed to CLOSE this civil action.

           So ORDERED and SIGNED this 18 day of May, 2015.




                                                        ___________________________________
                                                        Ron Clark, United States District Judge
